       Case 15-53334-crm           Doc 28      Filed 10/20/15 Entered 10/20/15 10:07:50                  Desc Order
                                               Clos. 7 NA Page 1 of 1



                                      UNITED STATES BANKRUPTCY COURT

                                               Northern District of Georgia


In Re: Debtor(s)
       Kellie Michael King                                     Case No.: 15−53334−crm
       717 Lee Street, SW                                      Chapter: 7
       Apt 106                                                 Judge: C. Ray Mullins
       Atlanta, GA 30310

        xxx−xx−2515




                      ORDER APPROVING TRUSTEE'S REPORT OF NO DISTRIBUTION,
                            DISCHARGING TRUSTEE AND CLOSING ESTATE



It appearing to the Court that

                                                    Tamara Miles Ogier



the Trustee in said case, has filed his report of no distribution and that said Trustee has performed all other and further
duties as required in the administration of said estate;

IT IS THEREFORE ORDERED that said report be and it hereby is approved and that the said estate be and it hereby is
closed; that the Trustee be and hereby is discharged from and relieved of the trust.




                                                               C. Ray Mullins
                                                               United States Bankruptcy Judge


Dated: October 20, 2015
Form 184
